Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 1 of 8 Page ID #:7




              EXHIBIT “A”
Electronically FILED by Superior Court of California, County of Los Angeles on 12/21/2020 10:11 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                       Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 2 of 8 Page ID #:8
                                                     20STCV48648
                                        Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Thomas Long




                         1    RAFII & ASSOCIATES,P.C.
                              DANIEL J. RAFII, SBN 244174
                         2     daniel@rafiilaw.corn
                              CHRISTOPHER K. ROBERTS,SBN 232791
                         3     christopher@rafiilaw.corn
                              JUSTIN RABI,SBN 305287
                         4    justin@rafiilaw.corn
                              9100 Wilshire Boulevard, Suite 465E
                         5    Beverly Hills, California 90212
                              Telephone: 310.777.7877
                         6    Facsimile: 310.777.7855

                        7 Attorneys for:
                          DIANA LIZETH AVENDANO
                        8
                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        9
                                                   COUNTY OF LOS ANGELES
                       10

                       11
                              DIANA LIZETH AVENDANO,an individual,                                          Case No.            2UST CV 48648
                       12
                                                     Plaintiffs,                                           PLAINTIFF'S COMPLAINT FOR
                       13                 v.                                                               DAMAGES AND PERSONAL INJURIES
                       14 COSTCO WHOLESALE CORPORATION,a
                          Washington corporation; SCOTT MANLY,an                                                 1. NEGLIGENCE;
                       15 individual; STEPHANIE ANDA,an                                                          2. PREMISES LIABILITY
                          individual; JOSUE CACERES,an individual;
                       16 KEVIN CLARKE,an individual; and DOES 1
                          through 50,inclusive,                                                             DEMAND FOR JURY TRIAL
                       17
                                        Defendants.
                       18

                       19

                       20

                       21                 Plaintiff DIANA LIZETH AVENDANO, an individual (hereinafter "Plaintiff') alleges as

                       22 follows:

                       23                                                         GENERAL ALLEGATIONS

                       24                 1.         Defendant COSTCO WHOLESALE CORPORATION (hereinafter"COSTCO")

                       25 is, and at all times mentioned herein, a corporation created under the laws of the state of

                       26 Washington, with its principal place of business in Washington, doing business in Los Angeles

                       27 County, California.

                       28                 2.         Defendant, SCOTT MANLY, an individual (hereinafter referred to as

                                                                                                  1
                                                                                              COMPLAINT
Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 3 of 8 Page ID #:9




 1
     "MANLY")is a natural person who is, and at all times herein mentioned was, believed to be a
 2
     resident of Los Angeles County, California.
 3
            3.      Defendant, STEPHANIE ANDA, an individual (hereinafter referred to as
4
     "ANDA")is a natural person who is, and at all times herein mentioned was, believed to be a
 5
     resident of Los Angeles County, California.
6
            4.      Defendant, JOSUE CACERES, an individual (hereinafter referred to as
 7
     "CACERES")is a natural person who is, and at all times herein mentioned was, believed to be
 8
     a resident of Los Angeles County, California.
9
            5.      Defendant, KEVIN CLARKE, an individual (hereinafter referred to as
10
     "CLARKE")is a natural person who is, and at all times herein mentioned was, believed to be a
11
     resident of Los Angeles County, California.
12
            6.      Defendants COSTCO; MANLY; ANDA; CACERES; CLARKE; and DOES 1
13
     through 50 may be collectively referred to as "Defendants."
14
            7.      Plaintiff does not know the true names of Defendants DOES 1 through 50 and
15
     therefore sues them by those fictitious names. Plaintiff will amend this Complaint to allege their
16
     true names and capacities when ascertained. Plaintiff is informed and believes and thereon
17
     alleges that each of those Defendants were in some manner negligently and proximately
18
     responsible for the events and happenings alleged in this Complaint and for Plaintiff's injuries
19
     and damages.
20
            8.      Plaintiff is informed and believes and thereon alleges that at all times mentioned
21
     in this Complaint, each of the Defendants was the agent, alter-ego, joint venture, and/or
22
     employee of each of the remaining Defendants, was acting at all times within the course and
23
     scope of said agency and employment and with the knowledge and consent of the remaining
24
     defendants, and/or was responsible for negligently hiring each of the remaining defendants.
25
     Plaintiff is further informed and believes that at all times mentioned herein, each of the
26
     Defendants was acting with the knowledge, direction, participation, acquiescence, ratification,
27
     and/or consent of the remaining Defendants, and each ofthem.
28

                                                   2
                                               COMPLAINT
Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 4 of 8 Page ID #:10



 1
            9.      The acts or occurrences giving rise to this action occurred on April 15, 2019 in
 2
     the City of Norwalk, Los Angeles County, California, and within the jurisdiction of the above-
 3
     captioned Court.
 4
            10.     At all times mentioned in this Complaint, Defendants, and each ofthem, owned,
 5
     leased, rented, occupied, possessed, designed, constructed, developed, landscaped, operated,
 6
     inspected, repaired, maintained, modified, managed, controlled and/or supervised a Costco
 7
     Wholesale located at 12324 Hoxie Ave, Norwalk, CA 90650 (hereinafter referred to as the
 8
     "Subject Premises").
 9
            1 1.    As a result of the acts and/or omissions of the Defendants, and each of them, as
10
     hereinafter alleged, Plaintiff was collided into by shopping carts pulled by employee/employees
11
     ofthe Subject Premises,thereby causing Plaintiffto sustain the injuries and damages complained
12
     of herein.
13
            12.     Plaintiff is informed and believes that at all times mentioned herein, Defendants,
14
     and each of them, owned, maintained, controlled, managed, operated, leased, rented, occupied,
15
     possessed, designed, constructed, developed, landscaped, inspected, repaired, modified,
16
     supervised, permitted, and/or were employed at the Subject Premises.
17
            13.     At all times mentioned herein, Defendants, and each of them, owed a duty to
18
     Plaintiffs to keep the subject premises in a safe condition by, inter alia, providing a warning
19
     regarding the dangerous condition, or guarding against, preventing, curing, or removing the
20
     dangerous condition.
21
            14.     At all times mentioned herein, Plaintiff was lawfully on the Subject Premises and
22
     was unable to foresee or prevent the impending injury.
23
                                     FIRST CAUSE OF ACTION
24
                  (NEGLIGENCE BY PLAINTIFF AGAINST ALL DEFENDANTS)
25
            15.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 14.
26
            16.     Plaintiff is informed and believes and thereon alleges that on April 15, 2019,
27
     Defendants, and each ofthem, owed a duty of care to Plaintiff to keep the Subject Premises in a
28

                                                   3
                                               COMPLAINT
Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 5 of 8 Page ID #:11



 1
     safe condition by, inter alia, providing a warning regarding the dangerous condition or guarding
 2
     against, preventing, curing, or removing the dangerous condition, and by conducting their
 3
     business activities, including, but not limited to, the reasonably safe handling, transport, and
 4
     stowage of shopping carts, baskets, and trollies.
 5
             17.    Plaintiff is informed and believes and thereon alleges, that on or about the above-
 6
     referenced date and place, Defendants, and each of them, owed a duty to Plaintiff because they
 7
     owned, leased, rented, occupied, possessed, designed, constructed, developed, landscaped,
 8
     operated, inspected, repaired, maintained, modified, managed,controlled, and/or supervised,the
 9
     subject premises, permitted or created the dangerous condition, and/or were employed at the
10
     Subject Premises and were involved in creating, and failing to abate, guard, or warn against, said
11
     dangerous activities.
12
             18.    Plaintiff is informed and believes and thereon alleges that Defendants, and each
13
     of them, breached the aforementioned duty of the care when they negligently and carelessly
14
     owned, leased, rented, occupied, possessed, designed, constructed, developed, landscaped,
15
     operated, inspected, repaired, maintained, modified, managed, controlled and/or supervised the
16
     subject premises; permitted or created the dangerous condition, increased the risk of harm, or
17
     created a false sense of safety at the Subject Premises so as to cause Plaintiff to encounter a
18
     dangerous and deceptive condition causing a collision to Plaintiff, and thereby directly causing
19
     the injuries and damages to Plaintiff as described herein.
20
             19.    As a direct and proximate result of the acts and omissions of Defendants, and
21
     each ofthem, Plaintiff was injured in her health, strength, and activity, sustaining injuries to her
22
     body and person, all of which said injuries have caused and continue to cause Plaintiff great
23
     physical and mental pain and suffering. Plaintiff is informed and believes and thereon alleges
24
     that these injuries will result in some permanent disability to her, all to her general damage in
25
     an amount which will be stated according to proof at trial.
26
            20.     As a further proximate result of the negligence of Defendants, Plaintiff has
27
     incurred, and will continue to incur, medical and related expenses in an amount which will be
28

                                                    4
                                                COMPLAINT
                                    Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 6 of 8 Page ID #:12



                                     1
                                         stated according to proof at trial.
                                     2
                                                21.      As a further proximate result of the negligence of Defendants as alleged herein,
                                     3
                                         Plaintiff has incurred, and will incur, loss of income, wages, property damage, and other
                                     4
                                         pecuniary losses, the full nature, extent, and amount of which are not yet known to Plaintiff, and
                                     5
                                         the exact number of such expenses will be stated according to proof at the time of trial.
                                     6
                                                                         SECOND CAUSE OF ACTION
                                     7
                                               (PREMISES LIABILITY BY PLAINTIFF AGAINST ALL DEFENDANTS)
                                     8
                                                22.      Plaintiff incorporates each allegation set forth in Paragraphs 1 through 21,
                                     9
                                         inclusive.
EXCELLENCE I COMMITMENT I RESULTS




                                    10
                                                23.      At all times herein mentioned, Defendants owned, leased, rented, occupied,
                                    11
                                         possessed, designed, constructed, developed, landscaped, operated, inspected, repaired,
                                    12
                                         maintained, modified, managed, controlled and/or supervised the Subject Premises, and/or
                                    13
                                         permitted or created the dangerous condition the Subject Premises so as to cause or allow
                                    14
                                         dangerous and/or defective conditions thereon, and that at all times mentioned herein, the
                                    15
                                         condition of said premises were such that individuals upon the subject premises, including the
                                    16
                                         Plaintiff, were exposed to danger and injury while lawfully on the Subject Premises. Defendants,
                                    17
                                         and each of them, failed to warn Plaintiff of the dangerous condition that existed at the Subject
                                    18
                                         Premises.
                                    19
                                                 24.     At all times herein mentioned, Defendants created, knew of, or in the exercise of
                                    20
                                         reasonable care should have known of, the dangerous and defective condition, but failed to take
                                    21
                                         reasonable care to guard against, or warn against, the presence of said condition to prevent
                                    22
                                         injuries to reasonably foreseeable plaintiffs, and/or persons lawfully on the Subject Premises,
                                    23
                                         including Plaintiff.
                                    24
                                                 25.     On or about the above-referenced date and place, Defendants, and each ofthem,
                                    25
                                         negligently and carelessly owned, leased, rented, occupied, possessed, designed, constructed,
                                    26
                                         developed, landscaped, operated, inspected, repaired, maintained, modified, managed,
                                    27
                                         controlled, and/or supervised the Subject Premises, and failed to use reasonable care in the
                                    28

                                                                                       5
                                                                                   COMPLAINT
Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 7 of 8 Page ID #:13



 1
     handling, transport, and stowage of shopping carts, baskets, and/or trollies, so as to cause a
 2
     collision to Plaintiff, and thereby directly and proximately causing the injuries and damages to
 3
     Plaintiff as described herein.
 4
            26.     As a direct and proximate result of the conduct of Defendants, and each ofthem,
 5
     Plaintiff was injured and injured in her health, strength, and activity, sustaining injuries to her
 6
     body and person, all of which said injuries have caused and continue to cause Plaintiff great
 7
     physical and mental pain and suffering. Plaintiff is informed and believes and thereon alleges
 8
     that these injuries will result in some permanent disability to her, all to her general damage in
 9
     an amount which will be stated according to proof at trial.
10
            27.     As a further direct and proximate result ofthe negligence of Defendants,Plaintiff
11
     has incurred, and will continue to incur, medical and related expenses in an amount according
12
     to proof.
13
            28.     As a further proximate result of the negligence of Defendants as alleged herein,
14
     Plaintiff has incurred, and will incur, loss of income, wages, property damage, and other
15
     pecuniary losses, the full nature, extent, and amount of which are not yet known to Plaintiff, and
16
     the exact number of such expenses will be stated according to proof at the time of trial.
17

18
                                           PRAYER FOR RELIEF
19
             WHEREFORE, Plaintiffs pray for judgment against the Defendants, and each of them,
20
     as follows:
21
           (1)      For economic damages, including lost wages, lost employee benefits, medical
22
                    expenses and other economic obligations incurred according to proof at trial;
23
           (2)      For non-economic damages, including physical pain and suffering, loss of
24
                    enjoyment of life and anxiety associated with his injuries;
25
           (3)      For pre-judgment interest at the maximum legal rate;
26
           (4)      For post-judgment interest at the maximum legal rate;
27
            (5)     For costs of suit herein incurred;
28

                                                    6
                                                COMPLAINT
                                         Case 2:22-cv-04637-GW-E Document 1-1 Filed 07/07/22 Page 8 of 8 Page ID #:14



                                          1
                                                       (6)   For such other relief that at the Court may deem just and proper.
                                          2

                                          3
                                                                               DEMAND FOR JURY TRIAL
                                          4
                                                       Plaintiff DIANA LIZETH AVENDANO requests that the present matter be set for jury
                                          5
                                              trial.
                                          6

                                          7
                                              DATED: December 21, 2020                     Respectfully submitted,
                                          8
                                                                                           RAFII & ASSOCIATES,P.C.
                                          9
     EXCELLENCE I COMMITMENT I RESULTS




d                                        10
 a:.
 c/i'                                    11
 w                                                                                         B
.E                                       12                                                         ANIEL J. RAFT!, ESQ.
 <
 U                                                                                                CHRISTOPHER K. ROBERTS,ESQ.
0                                        13                                                       JUSTIN RABI, ESQ.
 cn
                                                                                                  Attorneys for Plaintiffs
.c'C                                     14
 ck3
                                         15
 <                                       16

                                         17

                                         18

                                         19

                                         20

                                         21

                                         22

                                         23

                                         24

                                         25

                                         26

                                         27

                                         28

                                                                                           7
                                                                                       COMPLAINT
